Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 1 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 2 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 3 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 4 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 5 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 6 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 7 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 8 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document     Page 9 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 10 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 11 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 12 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 13 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 14 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 15 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 16 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 17 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 18 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 19 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 20 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 21 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 22 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 23 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 24 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 25 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 26 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 27 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 28 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 29 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 30 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 31 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 32 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 33 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 34 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 35 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 36 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 37 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 38 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 39 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 40 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 41 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 42 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 43 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 44 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 45 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 46 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 47 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 48 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 49 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 50 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 51 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 52 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 53 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 54 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 55 of 56
Case 2:22-bk-15521-NB   Doc 23 Filed 12/13/22 Entered 12/15/22 17:18:43   Desc
                        Main Document    Page 56 of 56
